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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               RICHMOND DIVISION

THE TRUSTEES OF COLUMBIA
UNIVERSITY IN THE CITY OF NEW
YORK,
                                                Civil Action No. 3:13-cv-00808-MHL
               Plaintiff,

       v.

NORTONLIFELOCK INC.,

               Defendant.



                       JOINT STATUS REPORT PURSUANT TO
                     THE COURT’S JUNE 3, 2022 ORDER (DKT. 1238)

       Pursuant to the Court’s June 3, 2022 order (Dkt. 1238), Plaintiff The Trustees of Columbia

University in the City of New York (“Columbia”) and Defendant NortonLifeLock Inc. (“Norton”)

submit this joint status report regarding their potential compromise agreement on the amount of

attorneys’ fees and costs that Columbia would recover from Norton should the Court decide that

an award of fees is appropriate pursuant to 35 U.S.C. § 285 (see Dkts. 1259, 1260, 1271, 1294).

       Because the scope of the potential compromise depends on the Court’s ruling on the scope

of attorneys’ fees (if any) that Columbia should recover from Norton, the parties have not yet

reached an agreement on this issue. However, the parties remain committed to discussing a

compromise, should the Court decide that an award of fees is appropriate. Subject to the Court’s

approval, the parties propose to provide another status update to the Court within 30 days of the

Court’s ruling on the pending attorneys’ fees motion (see Dkts. 1259, 1260, 1271, 1294). That

status update will address the potential compromise agreement regarding (i) the amount of

Columbia’s recoverable costs (in lieu of submission of a post-judgment bill of costs), and (ii) the
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amount of Columbia’s recoverable attorneys’ fees (in lieu of briefing), should the Court decide it

is appropriate to award fees.


  Dated: September 1, 2022                           Respectfully submitted,


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